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     Ebony Ballard
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7
                               UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
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     EBONY BALLARD, an individual,            Case No.: CV 20-2679-MCS-(Ex)
12
                  Plaintiff,
13                                            [Hon. Mark C. Scarsi]
     v.
14
     LOUIS DEJOY, Postmaster General of the   PLAINTIFF’S PROPOSED JUROR
15   United States of America,                SURVEY
16                Defendant.
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                                              Pre-Trial Conf.: May 24, 2021
                                              Trial: July 13, 2021
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1             Plaintiff hereby submits to the Court, her Proposed Jury Survey attached hereto
2    as Attachment A: 1
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4             Respectfully submitted,
5
6    Dated: June 21, 2021                LAW OFFICES OF G. SAMUEL CLEAVER
7
                                         By:    /s/ G. Samuel Cleaver
8
                                                    G. Samuel Cleaver
9                                        Attorneys for Plaintiff
                                         Ebony Ballard
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     1   Defendant does not object to the questions in Plaintiff’s proposed survey as written.
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1                                        Attachment A
2                                      JUROR SURVEY
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4           Name or Juror Number: _________________________________
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6           Please write you answers to the following questions. If you need additional
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     space, you can write on the back or request additional sheets from the Courtroom
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     Deputy.
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            1.    Have you or anyone close to you ever experienced sexual harassment at
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     work? If so what was the person who experienced sexual harassment’s relationship to
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     you?
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            2.    If you answered, yes to question 1, did that situation cause you to have
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     any feelings or opinions about sexual harassment? If so, what were those feelings or
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     opinions?
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25          3.    Have you or anyone close to you ever been accused of sexual harassment
26   at work? If so, what was the accused person’s relationship to you?
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1          4.     If you answered, yes to question 1, did that situation cause you to have
2    any feelings or opinions about sexual harassment? If so, what were those feelings or
3    opinions?
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           5.     Do you have any opinions or feelings, positive or negative, about sexual
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     harassment that might make it difficult for you to be a fair juror in this case? If so,
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     please explain.
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